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B 203
(12/94)

United States Bankruptcy Court

Eastern

District Of Pennsylvania

mare Kimyatta Chaney

Case No. _23-12243

Debtor Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), | certify that | am the attorney for the above-
named debtor(s) and that compensation paid to me within one year before the filing of the petition in
bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s)
in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, | have agreed to accept ..... 0... eee eens $ 750.00
Prior to the filing of this statement | have received ........ 0.0.0 cc eee ee eee ees $ 750.00
Balance Due .. 1... ce ene eee t teen e eens $ 0.00

2. The source of the compensation paid to me was:
] Debtor CJ other (specify)
3. The source of compensation to be paid to me is:
LJ Debtor L] other (specify)

4. LJ | have not agreed to share the above-disclosed compensation with any other person unless they are
members and associates of my law firm.

CJ | have agreed to share the above-disclosed compensation with a other person or persons who are not
members or associates of my law firm. A copy of the agreement, together with a list of the names of
the people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, | have agreed to render legal service for all aspects of the bankruptcy
case, including:

a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether
to file a petition in bankruptcy;

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
hearings thereof;
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DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)

d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

CERTIFICATION

| certify that the foregoing isa complete statement of any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceedings.

slgzloy As

Date if f Signature of Attorney
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